   Case 4:02-cr-00045-SPM        Document 269      Filed 05/01/06    Page 1 of 2




                                                                             Page 1 of 2


                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,

vs.                                              CASE NO. 4:02-CR-045-SPM

THOMAS JONES III,

           Defendant.
_____________________________/

            ORDER REDUCING SENTENCE PURSUANT TO RULE 35

       THIS CAUSE comes before the Court upon the “In Camera Motion

Concerning Substantial Assistance” (doc. 241) filed by the Government on

September 30, 2005, which advises that Defendant’s cooperation, provided after

sentencing, led to the indictment, prosecution, and conviction of Richard Hall.

Jones testified at Hall’s trial, and the Government suggests that Defendant was

an important witness who provided truthful and complete testimony in the case.

This testimony was especially difficult for Jones, as Richard Hall is his cousin,

and Jones testified while his mother and aunt were present in the courtroom.

       The Court finds that a reduction is proper to reward Defendant’s

substantial assistance in the prosecution of others. Accordingly, it is

       ORDERED AND ADJUDGED as follows:

       1.     Defendant’s sentence of confinement is reduced in Count I from 90
Case 4:02-cr-00045-SPM     Document 269      Filed 05/01/06    Page 2 of 2




                                                                      Page 2 of 2


         months imprisonment to 60 months imprisonment, and reduced in

         Count IV from 45 months imprisonment to 25 months

         imprisonment.

   2.    Count IV shall run consecutively to Count I, for a total between the

         two counts of 85 months.

   3.    In all other respects, the original sentence imposed in the Judgment

         and Commitment Order of January 20, 2004 (doc. 97) shall remain

         unchanged.

   DONE AND ORDERED this first day of May, 2006.


                                s/ Stephan P. Mickle
                             Stephan P. Mickle
                             United States District Judge
